                                                                           DISTRICT OF OREGON
                                                                                FILED
                                                                                April 14, 2016
                                                                        Clerk, U.S. Bankruptcy Court



Below is an Order of the Court.




                                                         _______________________________________
                                                                     RANDALL L. DUNN
                                                                   U.S. Bankruptcy Judge




                      IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF OREGON

 In re
                                              Case No. 15-35133-rld7
     Elbert Garboden
     Sherry Garboden
                                              ORDER APPROVING MOTION
 Debtors                                      TO SETTLE AND COMPROMISE


         This matter came before the Court for telephonic hearing on April 12, 2016. The

 Trustee, Amy Mitchell, appeared. Ms. Garboden also appeared. Based on the record of

 the hearing, it is

         ORDERED that the Trustee’s Motion to Settle and Compromise (docketed at

 #21) is approved.

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 I certify that I have complied with the requirements of LBR 9021-1(a)(2)(A).

 Presented by:

 _/s/ Amy Mitchell____________
 Amy Mitchell, Trustee



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List of Parties to Receive Copy of Order
In re Garboden
Case No. 15-35133-rld7

Via regular mail:

       Les Schwab Tire Centers of Portland Inc
       POB 5350
       Bend, OR 97708

       Wells Fargo Bank N.A.
       dba Wells Fargo Dealer Services
       P.O. Box 3569
       Rancho Cucamonga, CA 91729

Via ecf:

      Jesse Baker: ecforb@aldridgepite.com, JPB@ecf.inforuptcy.com,
       jbaker@aldridgepite.com
      Kachelle Baxter: kachelle@baxterlaw.com, kirsten@baxterlaw.com,
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       ncarson@robinsontait.com, ssears@robinsontait.com,
       sjosephson@robinsontait.com
      Amy Mitchell: mitchelltrustee@comcast.net, amitchell@ecf.epiqsystems.com
      US Trustee, Portland: USTPRegion18.PL.ECF@usdoj.gov




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